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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                     §
 UNITED HEALTHCARE SERVICES                          §
 INC, and UNITEDHEALTHCARE                           §
 INSURANCE COMPANY                                   §
                                                     §
                   Plaintiffs,                       § Civil Action No. 3:17-CV-00243-X-BT
                                                     §
 v.                                                  §
                                                     §
 NEXT HEALTH LLC et al.,                             §
                                                     §
                Defendants.                          §
                                                     §

                          AMENDED SCHEDULING ORDER

       The Court has considered the Parties’ Emergency Joint Motion to Partially
Amend the Scheduling Order [Doc. No. 698], GRANTS the motion IN PART, and
sets the following schedule for this case’s disposition. 1


1.     The jury trial is scheduled on this Court’s two-week docket beginning February
       6, 2023, at 10:00 AM.

2.     A Pretrial Conference is scheduled for January 30, 2023.

3.     The defendants’ designation of expert witnesses and compliance with Fed. R.
       Civ. P. 26(a)(2) shall be made by June 30, 2022.

4.     Rebuttal designation of expert witnesses and compliance with Fed. R. Civ. P.
       26(a)(2) shall be made by July 30, 2022.

5.     All discovery procedures shall be initiated in time to complete discovery by July
       15, 2022. 2

       1Unless the Court orders otherwise, the Parties must observe the Federal Rules of Civil
Procedure and the local rules of this Court.
       2 The Court declines to set a separate deadline for discovery motions. This scheduling order,
as well as the Court’s previous scheduling order [Doc. No. 681], sets a date for the completion of
discovery. Therefore, the parties are “generally required to obtain all necessary discovery by that

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6.      All motions for summary judgment shall be filed by October 1, 2022. 3

7.      All challenges to experts—including motions to strike or exclude expert
        witnesses—shall be filed by October 1, 2022.

8.      The Court “heavily disfavor[s] sealing information placed in the judicial
        record” and discourages such requests. 4 The parties may agree between
        themselves to designate documents “confidential” during discovery. The
        typical standard there involves the parties assessing whether they want that
        material in the public domain. But filing that material with the Court under
        seal is a different matter altogether. Court proceedings are, by and large,
        public matters (and rightfully so given that tax dollars fund the courts and we
        have this wonderful protection called the First Amendment). 5

        A party seeking to file a specific document under seal 6 must move for leave to

date.” Am. Can! v. Arch Ins. Co., No. 3:20-CV-0850-X-BH, 2022 WL 504171 (N.D. Tex. Feb. 18, 2022)
(Ramirez, J.); Days Inn Worldwide, Inc. v. Sonia Invs., 237 F.R.D. 395, 398 (N.D. Tex. 2006) (Ramirez,
J.) (“In order to timely obtain . . . discovery . . ., [any discovery] motion[s] [must] be filed sufficiently in
advance of the discovery deadline . . . in order to allow it to be heard by a court, and if granted, to allow
the compelled discovery to be produced prior to the deadline.”).

        The parties generally may agree to extend this discovery deadline, provided that the extension
does not affect any subsequent deadlines and the parties notify the Court in writing. The Court retains
the right to reject an agreed extension.
       3 Counsel should review carefully Local Rule 56.2(b), which limits to one the number of

summary judgment motions that a party may file “[u]nless otherwise directed by the presiding judge,
or permitted by law.”
        4   June Med. Servs., L.L.C. v. Phillips, 22 F.4th 512, 2022 WL 72074, at *5 (5th Cir. 2022).
        5   “The public’s right of access to judicial records is a fundamental element of the rule of
law. . . . Article III courts are independent, and it is particularly because they are independent that
the access presumption is so vital—it gives the federal judiciary a measure of accountability, in turn
giving the public confidence in the administration of justice.” Binh Hoa Le v. Exeter Fin. Corp., 990
F.3d 410, 417 (5th Cir. 2021) (cleaned up). “The rationale for public access is even greater” in cases
that “involve matters of particularly public interest.” June Med. Servs., 2022 WL 72074, at *5 (cleaned
up); see also SEC v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993) (“Public access [to judicial
records] serves to promote trustworthiness of the judicial process, to curb judicial abuses, and to
provide the public with a more complete understanding of the judicial system, including a better
perception of its fairness.” (quoting Littlejohn v. BIC Corp., 851 F.2d 673, 682 (3d Cir. 1998))); Brown
& Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1177 (6th Cir. 1983) (the First Amendment and
the common law limit the court’s discretion to seal records).
        6 Parties should not seek to file under seal any information that is already publicly available.

June Med. Servs., 2022 WL 72074, at *6 (“We require information that would normally be private to
become public by entering the judicial record. How perverse it would be to say that what was once
public must become private— simply because it was placed in the courts that belong to the public. We
will abide no such absurdity.” (cleaned up)).

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        do so and: (1) brief the legal authorities indicating the risks of disclosure
        outweigh the public’s right to know, and (2) explain that no other viable
        alternative to sealing exists. 7 Further, all facts recited in any such motion
        must be verified by the oath or declaration of a person or persons with personal
        knowledge, which will assist the Court in making fact findings that can
        withstand appellate scrutiny. 8

        The Court recognizes that typically the party seeking to seal documents may
        not possess personal knowledge of the facts to be included in a motion for leave
        to file under seal. In these instances, the parties should either prepare joint
        motions for leave to file documents under seal (and the party with personal
        knowledge verifies the facts in the section on justification) or the parties should
        make separate filings.

9.      Counsel shall file by January 23, 2023, a Joint Pretrial Order containing the
        information required by Local Rule 16.4 plus the following:

            a. A list of witnesses who may be called by each party in its case in chief.
               Each such witness list shall contain a narrative summary of the
               testimony to be elicited from each witness, shall state whether the
               witness has been deposed, and whether the witness’s testimony at trial
               is “probable,” “possible,” “expert,” or “record custodian.” A copy of this
               list must be furnished to the court reporter prior to trial;
            b. A joint proposed jury charge. The parties must submit the proposed
               charge to the Court in Word format. The parties must annotate the joint
               proposed charge, explaining any objections and including citations to
               pattern jury instructions or caselaw.
            c. Proposed interrogatories
            d. The status of settlement negotiations as of the date of the Pretrial Order;

        7 See Planned Parenthood of Greater Tex. Family Planning & Preventative Health Servs., Inc.
v. Kaufman, No. 17-50534, Doc. 00514098372, at 2 (5th Cir. Aug. 1, 2017) (“This court disfavors the
sealing of briefs or portions of the record where the parties on appeal have not articulated a legal basis
for the sealing.”). The Fifth Circuit has “repeatedly required parties to justify keeping materials under
seal.” Id.; see, e.g., Claimant ID 100236236 v. BP Expl. & Prod’n, Inc., No. 16-30521 (5th Cir. Jan. 31,
2017) (requesting letter briefs sua sponte as to whether appeal should remain under seal and entering
order unsealing appeal); United States v. Quintanilla, No.16-50677 (5th Cir. Nov. 16, 2016) (order
authorizing briefs and record excerpts to be filed under seal on condition that the parties filed redacted
briefs and record excerpts on the public docket). Also, the parties should note that a showing that
disclosure of the information sought to be sealed would harm a party’s reputation or its business is not
sufficient to overcome the strong common law presumption in favor of public access. Brown, 710 F.2d
at 1179.
        8 See United States v. Edwards, 823 F.2d 111, 119 (5th Cir. 1987) (if closure of a presumptively

open proceeding is to withstand a First Amendment challenge, the court must make specific fact
findings that substantial probability exists that an interest of a higher value will be prejudiced and
that no reasonable alternatives will adequately protect that interest).

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            e. Each party’s proposed voir dire questions if the matter is a jury trial.
               The Court will allow attorneys an allotted time to conduct questioning
               at voir dire so long as the questions are approved in advance by the
               Court. The Court reserves the right to conduct further questioning at
               the conclusion of attorney questioning; and
            f. Trial briefs may be filed with the Pretrial Order but are not required
               unless specifically requested by the Court.

10.     Regarding exhibit lists, exhibits, witness lists, and deposition designations, the
        parties shall comply with Local Rule 26.2 by January 23, 2023. This includes
        providing copies of your trial exhibits to the Court on a USB flash drive or by
        email at Starr_Orders@txnd.uscourts.gov. 9 Deposition designations should
        only be made for witnesses who the parties agree will appear by deposition or
        who are beyond the subpoena power of the Court. Deposition designations
        should not be made for witnesses who will testify live.

11.     Motions in limine shall be filed by January 23, 2023. The parties must file
        responses to the motions in limine by January 26, 2023.

12.     Objections to witnesses (except expert witnesses), exhibits, and deposition
        designations shall be filed by January 26, 2023. Counsel must confer about
        exhibits and make reasonable efforts to agree upon admissibility.

13.     Objections to the interrogatories shall be filed by January 26, 2023.

14.     The parties must confer and file, by January 26, 2023 at 5:00 PM, a joint status
        report on pretrial objections to exhibits, witnesses (except expert witnesses),
        and deposition designations.

                            I.      Exhibits, Depositions, and Witnesses

           The Court expects that the parties will reach agreements resolving those
        evidentiary issues that are governed by well-settled and clearly established
        law. The report should then list the objections that the parties maintain.
        Objections must be explained in writing, similar to what would occur in a
        sidebar conference. Merely citing to a rule number is not sufficient.


        9 The Court will not accept original exhibits prior to trial. Original exhibits are retained by
counsel and are admitted into the official record during trial. It is counsel’s duty to care for the original
exhibits before and after trial. At the end of trial, the Court will return the original exhibits to counsel
and counsel will sign a Receipt of Exhibits. The Court will file the Receipt of Exhibits with the District
Clerk. It is counsel’s responsibility to forward any exhibits to the Court of Appeals should the case be
appealed. All questions regarding exhibits are to be directed to the court reporter.



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       a. Exhibits: Counsel must confer about exhibits and make reasonable efforts
          to agree upon admissibility. The Court will only admit into evidence
          exhibits the parties offer at trial. 10 For each exhibit objected to, the report
          shall list the exhibit number, a concise, non-argumentative description of
          the exhibit, the concise written basis for the objection with a citation to
          relevant authority, and a concise written response to the objection with a
          citation to the relevant authority.

       b. Depositions: For each witness the plaintiff will present by deposition (i.e.
          not a live witness), counsel must designate excerpts by page and line. The
          plaintiff must include an opposing party’s counter-designations,
          chronologically interspersed throughout a single, joint designation form for
          each witness. Each designated excerpt should note the party making the
          designation, whether there is an objection, the concise written basis for the
          objection with a citation to relevant authority, and a concise written
          response to the objection with a citation to relevant authority. The
          defendant must complete the same process for witnesses to be presented by
          deposition in the defendant’s case-in-chief only. The parties must attach
          the full deposition at issue for each witness.

       c. Witnesses:    The report shall include a concise, non-argumentative
          statement summarizing the witness and his/her connection to the facts.
          The party making an objection to the witness’s testimony must then make
          a concise explanation of the objection with a citation to relevant authority.
          The party presenting the witness must then make a concise response to the
          objection with a citation to relevant authority. The Court highly disfavors
          arguments about excluding the entirety of fact witness testimony.



The status report should organize the objections in table format, according to the
examples below:

 Exhibit Number            Concise non-                Objection with          Response with
                           argumentative               concise                 concise
                           description of              explanation and         explanation and
                           Exhibit                     authority.              authority.


         10 This does not mean the parties cannot bring into evidence a document not admitted in

conjunction with a witness. The parties may agree to the admissibility of certain exhibits that are
never discussed with a witness and ask the Court to admit them into evidence at the close of that
party’s case and be sent with the jury for deliberation. Or evidence brought in through a proper records
custodian by affidavit may qualify to go back to the jury room. But the Court is not inclined to admit
into evidence en masse exhibits only tangentially connected to the case actually presented to the jury.

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 Deposition      Counter-          Excerpt          Objection with   Response with
 Designation     designation (if   Objected to      concise          concise
 with Page and   applicable)       with Page and    explanation      explanation
 Line Numbers    with Page and     Line Numbers     and authority.   and authority.
                 Line Numbers


 Witness         Concise non-      Concise non-     Objection with   Response with
                 argumentative     argumentative    concise          concise
                 summary of        identification   explanation      explanation
                 witness and       of what aspect   and authority.   and authority.
                 connection to     of the
                 facts             Witness’s
                                   testimony is
                                   objected to


15.   The Court will view with disfavor and will deny—absent a showing of good
      cause—requests for extensions of these deadlines.

16.   Any deadlines not addressed in this order have lapsed.

17.   At the pretrial conference, the Court will determine the order in which the
      cases on its two-week docket will be tried. Counsel and the Parties shall be
      ready for trial on 48-hours’ notice at any time during the docket period.

      IT IS SO ORDERED this 28th day of June, 2022.



                                      ___________________________________
                                      BRANTLEY STARR
                                      UNITED STATES DISTRICT JUDGE




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